Case 2:93-cv-00902-RBS Document 686-1 Filed 06/13/23 Page 1 of 3 PageID# 6523




                              EXHIBIT 1
        Case 2:93-cv-00902-RBS Document 686-1 Filed 06/13/23 Page 2 of 3 PageID# 6524




                                                                                                     Brian Wainger, Esq.
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                                                                                                bwainger@kaleolegal.com


                                               February 23, 2023

        VIA ELECTRONIC MAIL

        Mr. David Thompson
        Group Chief Operating Officer
        Magellan Ltd.
        1st Floor Tudor House
        Le Bordage
        St. Peter Port
        Guernsey Gyi 1DB
        David@sm2.je



                       Re: RMS TITANIC, INC. v THE WRECKED AND ABANDONED VESSEL
                       Civil Action No. 2:93cv902 (EDVA, Norfolk Division)

        Dear Mr. Thompson:

                 This firms represents RMS Titanic, Inc. (RMST) in the above-referenced case. In your
        letter to the Honorable Rebecca Beach Smith, filed with the Court on October 13, 2022, you
        contend Magellan did not timely receive Judge Smith’s Order dated August 15, 2022 and that it
        was unaware of the cancellation of the Marconi expedition until it received this Order sometime
        later. In reality, RMST sent you a copy of the Order on August 16 and engaged in extensive
        conversations with you and Magellan about the termination of the plans for Expedition 2021, for
        which expedition Magellan developed tooling with the expectation that RMST would consider it
        for the project. In any event, you also discuss Magellan’s “detailed and collaborative engagement
        with RMST” and its “continuous proactive efforts to engage with RMST.” In this same spirit of
        cooperation you contend exists with RMST, please provide the following information: (i) the dates
        of departure and return of your expedition; (ii) a full report of operations at the wreck and wreck
        site; (iv) processed navigation data for your activities at the wreck site; (iv) confirmation that
        neither Magellan nor any of its agents or representatives made contact with or disturbed any
        areas outside of the agreed drop zone areas established for underwater vehicles and surface
        vessels at the RMS TItanic Wreck Site; and (v) confirmation that neither Magellan nor any of its
        agents or representatives conducted recovery operations at the site. Thank you for your continued
        cooperation.


                                                     Very truly yours,




                                                     Brian Wainger
____________________________________________________________________________________________________

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Case 2:93-cv-00902-RBS Document 686-1 Filed 06/13/23 Page 3 of 3 PageID# 6525




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